                                   UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE TENNESSEE DIVISION

 In re:                                                           Case No. 10-01333-MH3-13
          DAINON TARQUINIUS SIDNEY

                       Debtor(s)



                                Chapter 13 Trustee's Final Report and Account
         Henry E. Hildebrand, III, chapter 13 trustee, submits the following Final Report and Account of
 the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:




          1) The case was filed on 02/10/2010.

          2) The plan was confirmed on 05/19/2010.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
 08/13/2010, 01/26/2011, 04/08/2011, 01/06/2012.

         4) The trustee filed action to remedy default by the debtor in performance under the plan on
 12/13/2011.

          5) The case was dismissed on 12/19/2012.

          6) Number of months from filing to last payment: 31.

          7) Number of months case was pending: 37.

          8) Total value of assets abandoned by court order: $3,548.00.

          9) Total value of assets exempted: $313,060.49.

          10) Amount of unsecured claims discharged without payment: $0.00.

          11) All checks distributed by the trustee relating to this case have cleared the bank.




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 Receipts:

            Total paid by or on behalf of the debtor                     $97,016.94
            Less amount refunded to debtor                                    $0.00

 NET RECEIPTS:                                                                                                  $97,016.94


 Expenses of Administration:

      Attorney’s Fees Paid Through the Plan                                         $4,065.00
      Court Costs                                                                     $274.00
      Trustee Expenses & Compensation                                               $3,549.02
      Other                                                                             $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                               $7,888.02

 Attorney fees paid and disclosed by debtor:                               $0.00


 Scheduled Creditors:
 Creditor                                                Claim         Claim           Claim        Principal         Int.
 Name                                    Class         Scheduled      Asserted        Allowed         Paid            Paid
 BANK OF AMERICA                     Unsecured            43,377.00           NA              NA            0.00             0.00
 BONE MCALLESTER NORTON              Unsecured                  NA            NA              NA            0.00             0.00
 CATERPILLAR FINANCIAL               Secured              18,000.00           NA              NA            0.00             0.00
 CHARTER COMMUNICATION               Unsecured               248.00           NA              NA            0.00             0.00
 CHASE HOME FINANCE                  Secured                    NA            NA              NA            0.00             0.00
 EXCEL ERS LLC                       Unsecured             2,555.00           NA              NA            0.00             0.00
 FIA CARD SERVICES/BANK OF AME       Unsecured            50,066.00     42,708.00       42,708.00           0.00             0.00
 GE MONEY BANK                       Unsecured                  NA            NA              NA            0.00             0.00
 JP MORGAN CHASE BANK                Secured                    NA      65,187.89            0.00           0.00             0.00
 JP MORGAN CHASE BANK                Secured               5,698.00      9,184.97            0.00           0.00             0.00
 NASHVILLE ELECTRIC SERVICE          Unsecured               135.00           NA              NA            0.00             0.00
 NASHVILLE ELECTRIC SERVICE          Unsecured               479.00           NA              NA            0.00             0.00
 NASHVILLE ELECTRIC SERVICE          Unsecured               908.00      2,290.86        2,290.86           0.00             0.00
 NASHVILLE ELECTRIC SERVICE          Unsecured                68.00           NA              NA            0.00             0.00
 NATIONAL CAPITAL MANAGEMEN          Secured               5,700.00      5,442.49            0.00           0.00             0.00
 OCEAN BEACH CLUB LLC                Unsecured            19,216.00           NA              NA            0.00             0.00
 ONEWEST BANK FSB                    Secured              27,000.00     37,943.57       37,943.57      37,943.57             0.00
 ONEWEST BANK FSB                    Secured                    NA            NA              NA            0.00             0.00
 ONEWEST BANK FSB                    Secured                    NA     635,179.32       15,230.88      15,230.88             0.00
 ROTHSCHILD AND AUSBROOKS PLL        Unsecured                  NA           0.00            0.00           0.00             0.00
 SHAPIRO AND KIRSCH LLP              Unsecured                  NA            NA              NA            0.00             0.00
 STATE FARM BANK FSB                 Unsecured                  NA      20,278.19       20,278.19           0.00             0.00
 STATE FARM BANK FSB                 Unsecured                  NA       5,390.43        5,390.43           0.00             0.00
 STATE FARM BANK FSB                 Secured               5,190.00      5,814.00            0.00           0.00             0.00
 STATE FARM BANK FSB                 Secured              16,727.00           NA              NA            0.00             0.00
 STATE FARM BANK FSB                 Secured               9,067.00     10,506.39            0.00           0.00             0.00
 STATE FARM FINANCIAL                Unsecured             3,363.00           NA              NA            0.00             0.00
 SUNTRUST BANK                       Unsecured             3,038.40           NA              NA            0.00             0.00
 SUNTRUST BANK                       Secured                    NA            NA              NA            0.00             0.00
 SUNTRUST BANK                       Secured               2,668.00      2,494.55        3,546.97       3,546.97             0.00




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 Scheduled Creditors:
 Creditor                                          Claim            Claim         Claim        Principal        Int.
 Name                                    Class   Scheduled         Asserted      Allowed         Paid           Paid
 SUNTRUST BANK                     Secured                NA        152,326.66      6,453.00        6,453.00           0.00
 THE BANK OF NASHVILLE             Unsecured        88,445.00        93,365.11     93,365.11            0.00           0.00
 UNITED STATES TREASURY            Unsecured              NA         15,548.24     15,548.24            0.00           0.00
 UNITED STATES TREASURY            Priority         58,095.01        42,659.32     42,659.32       25,954.50           0.00
 VALINDA BURKS                     Priority               NA               NA            NA             0.00           0.00
 WILSON AND ASSOCIATES PLLC        Unsecured              NA               NA            NA             0.00           0.00



 Summary of Disbursements to Creditors:
                                                                     Claim            Principal                Interest
                                                                   Allowed                Paid                    Paid
 Secured Payments:
        Mortgage Ongoing                                         $21,683.88         $21,683.88                  $0.00
        Mortgage Arrearage                                       $41,490.54         $41,490.54                  $0.00
        Debt Secured by Vehicle                                       $0.00              $0.00                  $0.00
        All Other Secured                                             $0.00              $0.00                  $0.00
 TOTAL SECURED:                                                  $63,174.42         $63,174.42                  $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                                   $0.00              $0.00                  $0.00
         Domestic Support Ongoing                                     $0.00              $0.00                  $0.00
         All Other Priority                                      $42,659.32         $25,954.50                  $0.00
 TOTAL PRIORITY:                                                 $42,659.32         $25,954.50                  $0.00

 GENERAL UNSECURED PAYMENTS:                                    $179,580.83                $0.00                $0.00


 Disbursements:

            Expenses of Administration                                 $7,888.02
            Disbursements to Creditors                                $89,128.92

 TOTAL DISBURSEMENTS :                                                                                 $97,016.94




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          12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
 estate has been fully administered, the foregoing summary is true and complete, and all administrative
 matters for which the trustee is responsible have been completed. The trustee requests a final decree be
 entered that discharges the trustee and grants such other relief as may be just and proper.

 Dated: 03/04/2013
                                                    By: /s/ Henry E. Hildebrand, III
                                                                               Trustee

 STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
 exemption 5 C.F.R. § 1320.4(a)(2) applies.




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